CM/ECF-GA Northern District Court                                   https://gand-ecf.sso.dcn/cgi-bin/GANDc_mkmin.pl?151055026137992-...
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                                 UNITED STATES DISTRICT COURT
                                NORTHERN DISTRICT OF GEORGIA
                                       ATLANTA DIVISION
                                          1:18-cv-03659-AT
                     Redstone M&A Group, LLC v. La Salle Capital Group II-A, L.P. et al
                                      Honorable Amy Totenberg

                                    Minute Sheet for proceedings held In Chambers on 04/29/2022.


              TIME COURT COMMENCED: 02:30 P.M.
              TIME COURT CONCLUDED: 02:55 P.M.                     COURT REPORTER: Denise Stewart
              TIME IN COURT: 00:25                                 DEPUTY CLERK: Harry Martin
              OFFICE LOCATION: Atlanta

         ATTORNEY(S)                 Tyler Richards representing LaSalle Capital Group II-A, L.P.
         PRESENT:                    Eliza Taylor representing Redstone M&A Group, LLC
         PROCEEDING
                                     Telephone Conference(Motion Hearing Non-evidentiary);
         CATEGORY:
         MOTIONS RULED               [196]Motion to Redact Transcript DENIED
         ON:
         MINUTE TEXT:                Teleconference re [196] Motion to Redact Transcript.
         HEARING STATUS:             Hearing Concluded




1 of 2                                                                                                              4/29/2022, 2:56 PM
CM/ECF-GA Northern District Court                         https://gand-ecf.sso.dcn/cgi-bin/GANDc_mkmin.pl?151055026137992-...
                          Case 1:18-cv-03659-AT Document 202 Filed 04/29/22 Page 2 of 2




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